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                                UNITED STATES DISTRICT COURT
                                FOR THE DISTRICT OF COLUMBIA


UNITED STATES OF AMERICA,                    )
                                             )
v.                                           )
                                             )       Crim. No. 17-201-01 (ABJ)
PAUL J. MANAFORT, JR.,                       )
                                             )
               Defendant.                    )



                PAUL J. MANAFORT, JR.’S REPLY TO THE
       GOVERNMENT’S RESPONSE TO DEFENDANT’S MOTIONS IN LIMINE

       Paul J. Manafort, Jr., by and through counsel, hereby submits his reply to the Special

Counsel’s response to Mr. Manafort’s motions in limine. (Doc. 360).

       1. Mr. Manafort’s First Motion In Limine.

       In his response, the Special Counsel sets forth a limited objection to Mr. Manafort’s first

motion in limine concerning evidence or argument related to Mr. Manafort’s role in the campaign

of then-candidate Donald J. Trump or speculation about Russian collusion with the campaign. Mr.

Manafort does not object to the Special Counsel’s representations that evidence concerning

Russian collusion will not be offered at trial and that evidence offered related to Mr. Manafort’s

role in the campaign will limited to the communications described in the Special Counsel’s

response that relate to Counts 4 and 5. (See Doc. 360 at 2-3).

       2. Mr. Manafort’s Second Motion In Limine.

       In his response, the Special Counsel sets forth a limited objection to Mr. Manafort’s second

motion in limine concerning evidence or argument related to the charges pending against Mr.

Manafort in the Eastern District of Virginia. Mr. Manafort does not object to the Special Counsel’s


                                                  
                                                  
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representations that such evidence offered at trial will be limited to the “overlap” evidence

described in the Special Counsel’s response that relate to Counts 1 and 2. (See Doc. 360 at 4-5).

        3. Mr. Manafort’s Fourth Motion In Limine.1

        The Special Counsel argues that “[t]he specific answers the attorney gave are irrelevant to

the legal issue . . . .” (See Doc. 360 at 8). Notably, however, the Supreme Court has recognized

that a district court’s in camera review of the potentially privileged information can be useful in

determining the contours of the privilege and its limits. In United States v. Zolin, 491 U.S. 554

(1989), the Court held that “in camera review may be used to determine whether allegedly

privileged attorney-client communications fall within the crime-fraud exception.” Id. at 574. In

doing so, the Court acknowledged that it is often important to understand the statements in context

and to include a consideration of the content of those statements in making privilege

determinations.     Post-indictment, it is appropriate for Mr. Manafort to have access to the

information gathered by the government from his attorney in order to determine whether there is

a need to continue to litigate the privilege issues, and, to the extent there is, to be able to address

those statements specifically. While the gathering of privileged information by the Special

Counsel through ex parte proceedings pre-indictment was to be expected, the time for one-sided

presentations ended with Mr. Manafort’s indictment. Disclosure of the attorney’s statements

should be required in order to allow Mr. Manafort to litigate the privilege issues before this Court

in advance of trial.




                                                            
1
   In his response, the Special Counsel indicated that he has no objection to Mr. Manafort’s third motion in
limine. (See Doc. 360 at 1).

                                                     2
 
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       WHEREFORE, for the reasons above and those offered in his original motions in limine,

Mr. Manafort asks that the Court grant the relief requested.



Dated: July 30, 2018                                 Respectfully submitted,



                                                        /s/
                                                     Kevin M. Downing
                                                     (D.C. Bar No. 1013984)
                                                     Law Office of Kevin M. Downing
                                                     601 New Jersey Avenue NW
                                                     Suite 620
                                                     Washington, DC 20001
                                                     (202) 754-1992
                                                     kevindowning@kdowninglaw.com

                                                        /s/
                                                     Thomas E. Zehnle
                                                     (D.C. Bar No. 415556)
                                                     Law Office of Thomas E. Zehnle
                                                     601 New Jersey Avenue NW
                                                     Suite 620
                                                     Washington, DC 20001
                                                     (202) 368-4668
                                                     tezehnle@gmail.com
 

                                                        /s/
                                                     Richard W. Westling
                                                     (D.C. Bar No. 990496)
                                                     Epstein Becker & Green, P.C.
                                                     1227 25th Street, N.W.
                                                     Washington, DC 20037
                                                     Tel: 202-861-1868
                                                     Fax: 202-296-2882
                                                     Email: rwestling@ebglaw.com




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